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                              IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF UTAH


    MICHAEL L. LABERTEW, attorney in fact
    for, and on behalf of, P.B., and as Co-
    Trustee of the P.B. LIVING TRUST,                        TEMPORARY RESTRAINING ORDER

                     Plaintiffs,                                      Case No. 2:21-cv-00555-TC
    v.
                                                                      District Judge Tena Campbell
    WINRED, INC.,

                     Defendant.


            On October 8, 2021, the court heard oral argument about the propriety of extending its

temporary restraining order (TRO) entered on September 24, 2021. In an order filed

concurrently with this order, the court dissolved the first TRO. However, the court imposes a

second TRO, which will last for fourteen days.1 Specifically, the courts finds as follows:

         1. Plaintiffs have established a substantial likelihood that they will ultimately prevail on the

            merits; a showing that the Plaintiffs will suffer irreparable injury unless the TRO issues;

            that the threatened injury to P.B. outweighs whatever damage the proposed TRO may

            cause to the Defendant; and that the TRO, if issued, would not be adverse to—but instead

            advances—the public interest in protecting vulnerable and elderly adults;

         2. Plaintiffs have clearly and unequivocally demonstrated entitlement to the relief requested.

            See Greater Yellowsone Coal. v. Flowers, 321 F.3d 1250, 1256 (10th Cir. 2003); and




1
 After reviewing the briefs and hearing oral argument, the court declines to require Plaintiffs to post security.
WinRed has not demonstrated that it will suffer undue costs or damages under this second TRO. See Fed. R. Civ. P.
65(c); Winnebago Tribe v. Stovall, 342 F.3d 1202, 1206 (10th Cir. 2003).
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   3. Plaintiffs have established a “relationship between the injury claimed in [their] motion

       and the conduct asserted in the complaint.” See Little v. Jones, 607 F.3d 1245, 1251

       (10th Cir. 2010).

Under this second TRO, Defendant Winred, Inc., and any of its agents, employees, and

representatives, are hereby enjoined and prohibited from:

   1. Knowingly contacting or communicating with P.B. in any fashion;

   2. Knowingly obtaining any money or property from P.B. directly or indirectly through the

       P.B. Living Trust;

   3. Knowingly taking funds from any bank, debit, or credit card account belonging to or held

       by P.B. or the P.B. Living Trust; or

   4. Knowingly transferring money or credit with—or utilizing in any other fashion—the

       bank account or credit card information of P.B. or the P.B. Living Trust, and which

       Plaintiffs previously provided to Defendant.

       DATED this 8th day of October, 2021.

                                                            BY THE COURT:



                                                            TENA CAMPBELL
                                                            United States District Judge




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